
PER CURIAM.
The defendant husband appeals a final judgment of divorce and assigns as error the allowance of lump-sum alimony. The plaintiff wife cross-appeals and claims error upon the denial of her petition for attorney’s fees.
Our examination of the record convinces us that the facts before the trial court enabled the trial judge to exercise his discretion and award lump-sum alimony to the wife. See Yandell v. Yandell, Fla.1949, 39 So.2d 554, 556.
We also find that the trial judge did not abuse his discretion in refusing to award attorney’s fees to the wife. See Markland v. Markland, 155 Fla. 629, 21 So.2d 145, 147 (1945).
Affirmed.
